Case 3:05-cr-30015-DRH      Document 279 Filed 03/15/06      Page 1 of 2   Page ID
                                      #599



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

vs.

TRAVIS NORMAN,

Defendant.                                         No. 05-CR-30015-DRH

                                     ORDER

HERNDON, District Judge:

             On March 14, 2006 Defendant Travis Norman (“Defendant”) filed a pro-

se motion asking this Court to reconsider its March 3, 2006 ruling granting the

government’s motion to dismiss without prejudice due to a pending proceeding in the

Eastern District of Missouri (Doc. 268). (Doc. 273.) Specifically, Defendant objects

to the fact that this matter was dismissed without, as opposed to with, prejudice.

(Id.)

             The Court must deny this motion. Defendant, it should be noted, filed

a motion to dismiss this case for improper venue that was pending at the time his

case was dismissed. (Doc. 254.) In that motion, Defendant suggested that the

proper venue for at least some of the charges against him was the Eastern District

of Missouri. (Id.) Both the government and the Court agreed, and for this reason the

Court dismissed the case against Defendant by granting the government’s motion to

dismiss. (Doc. 268.) Had the Court opted instead to grant Defendant’s motion


                                    Page 1 of 2
Case 3:05-cr-30015-DRH      Document 279 Filed 03/15/06       Page 2 of 2   Page ID
                                      #600



instead of the government’s, however, the net result would have been the same:

dismissal without prejudice.1

             On top of this, Defendant’s motion for reconsideration does not relate

to the rationale underlying this Court’s March 3rd order. Instead, Defendant attacks

the validity of his indictment, supporting this argument by stating that because this

Court dismissed Defendant’s action, there is “undeniable proof that [Defendant’s]

indictment was false,” and thus Defendant’s case should be dismissed with prejudice.

The Court does not agree, however, that dismissal must be with prejudice here. As

Defendant himself has noted (Doc. 254), there is presently a legitimate question as

to whether the Eastern District of Missouri is the appropriate venue for all of the

charges brought against Defendant. Since it remains unclear exactly which charges

the government will bring in the Eastern District of Missouri, the Court finds that

dismissal without prejudice currently is appropriate here.

             Therefore, the Court DENIES Defendant’s pro-se motion for

reconsideration. (Doc. 273.)

             IT IS SO ORDERED.

             Signed this 15th day of March, 2006.


                                                    /s/       David RHerndon
                                                    United States District Judge


      1
       Defendant’s motion for dismissal states that there may be a legitimate
dispute about venue with regard to at least some of the charges in Defendant’s
indictment, and further does not suggest that dismissal in this case should be
with prejudice. (Doc. 254.)

                                     Page 2 of 2
